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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )   No. 3:19-cr-083-M-1
                                           )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                           )




              MR. HAMILTON’S REPORT ON MEDICAL PROGRESS




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                        Counsel for Defendant Ruel M. Hamilton
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         Pursuant to the Court’s March 18, 2022 Order (Dkt. 449), Mr. Hamilton submits this report

to update the Court on the status of his medical recovery. Mr. Hamilton had quadruple heart bypass

surgery on March 8, 2022, which went well, and he is now working on his recovery. He is currently

about to begin his third week of a 12-week cardiovascular rehabilitation program at the Baylor

Scott & White Heart and Vascular Hospital. (See Ex. A (brochure describing the program).) There

are three sessions per week, and Mr. Hamilton has completed six sessions. Mr. Hamilton also is

having regular follow-up sessions with his doctors, including an upcoming appointment with his

surgeon on May 5, 2022.

         Mr. Hamilton anticipates completing his cardiovascular rehabilitation program by the end

of June and then being reassessed by his doctor. The recovery process is challenging, which makes

it difficult to predict what his medical state will be until he completes rehabilitation. He proposes

that he be allowed to complete that process and then provide the Court with an updated report on

his medical condition on July 15, 2022, so that the Court can then set a prison report date.

         The government is not opposed to Mr. Hamilton completing his cardiovascular

rehabilitation program, but would prefer that the Court set a reporting date for him now for

sometime the week of July 18-22. It seems more prudent, however, to wait until Mr. Hamilton is

cleared by his doctor before setting a prison report date, particularly as we may have more clarity

on the status of his appeal by then. 1

         Dated: April 25, 2022


                                         Respectfully submitted,

/s/ Christopher D. Man
Abbe David Lowell, Bar No. 358651DC                     Dion J. Robbins, Bar No. 24114011TX
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    Mr. Hamilton’s appeal will be fully briefed by May 18, 2022.
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                          Counsel for Defendant Ruel M. Hamilton




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                                 CERTIFICATE OF SERVICE

       I certify that on April 25, 2022, a copy of the foregoing was filed with the Court’s electronic

case filing system, thereby effecting service on counsel for all parties.

                                       /s/ Christopher D. Man
                                       Christopher D. Man




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